PACIFIC STEEL CASTING COMPANY LLC, Debtor                                       Case No. 19-40193




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